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UNITED STATES DISTRICT COURT

DIS'I`RICT OF MARYLAND
Melissa C. Evzms
Plaintiff,
V. CIVIL ACTION NO.
100v2652(FlWT)
Mitchell Rubenstein & Associates, P.C.
Dcfendant. NOVEMBER ll, 2010
NOTICE OF DISSMISSAL

 

The plaintiff through his attorney chard T. Kennedy stipulates that the claims in
the above-entitled action shall be dismissed WI'I`HOUT prejudice and without

costs, subject to approval of the Court.

THE PLAINTIFF

BY/S/Bernard T. Kennedy
Bernard T. Kennedy, Esquire

'I`he Kennedy Law Firm

P.O. Box 657

Edgewatcr, MD 21037

Ph (443) 607-8901

Fax (443) 607-8903

Fed. Bar # Md26843
bern;\rdtkcnncdv@yahoo.com

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